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           IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:05CR145
                              )
          v.                  )
                              )
CAESAR HINOJOSA,              )                        ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to suppress evidence (Filing No. 46), the report and

recommendation of the magistrate judge (Filing No. 63), and

defendant’s objections thereto (Filing No. 66).             The Court has

reviewed the transcript of the hearing held before the magistrate

judge, the briefs of the parties filed with the magistrate judge,

the magistrate judge’s report and recommendation, and the brief

of defendant in support of his objections.           The Court finds the

report and recommendation should be approved and adopted for the

reasons stated by the magistrate judge in his opinion.

Accordingly,

          IT IS ORDERED:

          1) The report and recommendation of the magistrate

judge is approved and adopted.

          2) Defendant’s motion to suppress is denied.

          3) Trial of this matter is scheduled for:

                Monday, December 12, 2005, at 9 a.m.,

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       The ends of justice will be
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served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.            The additional time

between September 19, 2005, and December 12, 2005, shall be

deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act.         18 U.S.C. § 3161(h)(8)(A) &

(B).

          DATED this 19th day of September, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
